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SE-|ERR} ADELSTEIN
Dsntozz Cous£y [)isirist Cisrk
By: 5helley Mccutchson, Deputy

'§5-00933-43’¥

CAUSE NO.

ELISA GGNZALES § IN 'I`HE })ISTRICT COURT

Plaintiff, §
, § s

v. § JU})ICIAL BISTRICT
§
BElCQ.GENERAl/_INSIHIAME. -§
COMPANY §

Def¢mdmlt, § §)ENTON CQUNTY, TEXAS

PLA!NTIFF’S GRIGINAL PET!TI()N AND REOUESTS FOR DISCLOSURE
TO THE ]`:IONORABLE $U])GE QF SAI]J COURT:

NOW COMES ELISA G-ONZA.LES (“P§aintiff”), and tile this Plaintg']jF"s Origz'nsl
Pezz‘zion and Requesr;s' for Dz'sc!osure, complaining of GEICO General §nsursne¢ flourme s
(“Dsfendant Geiso") and for cause of acti<zn, P}aintiff shows unto the C-ourt the fellowing:

]]ISCOVERY CON'¥ROL PLAN LEVEL

1. Plsintiff intends so conduct dissovsry under stsl 2 of Tsxss R.uis of Civ§i
Prsccduz'c 199.4.

PARTIES

2. Pisintif? Elissa Gsnza§ez is an indiviéua'i residing in Denton County, Texas. The
last three digits of Piaintiff"s driver’s license number are 223 and the last three digits of her
weisl security nmbsr ass 552.

3. Dsfsudsst GEICO Gsssrs} Insursnss Csmpsny is a foreign insurance company
engaging in the business of insurance in the state of Texas. This defendant may be served With
personal process sr certified msil, op its Attomsy for SeWice, Grsgc)ry S. Jacobi, 4201 Spring

Vailey Rosd, Dsiiss, “i`exas 75244.

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` JURISDICTION

4. Thc Court lies jorisdiotioe over this cause of action beoeuse the amount in
controversy is Widiin the jurisdictional limits of the Court. Pluintiff is seeking monetary relief
over $20€),00€} but not more then 31,600,800. Plnintifl’ reserves thelright to amend her petition
during end/or after the discovery process Thc Court has jurisdiction over the parties in this
matter.

5. Venue is proper in ll)emon County Texes beoeuse it is the county in which
R.ebeeee Reed, the named policy holden resided et the time of the accident involving the
underinsured motor vehicle See ‘I`EX_. INS. COD§ § 1952.110.

_E.d§._T_S_

6. < On or about lilly 21, 2013, Pleintlff was the resneined passenger in n vehicie
driven by Ghristoplier donohoe (“M.c. Sono§'zoz”) end owned by Robeece Reed traveling
northbound on Interstnte Highwayl$$ in Veiley View, Cloolce County51 Texns. Suddenly end
without wenzing, Mr. Snnchez failed to pay attention and observe the existing conditions of the
roud, and crashed into a guardrnii bordering the left lane of tile highway for northbound travelers
The coilision caused Pls.intii`f to suffer sever end pennenent injuries Pleintitt filed suit against
Mr. demotion for her injuries resulting from Mr. Sonohez"`s negligence end nies awarded
judgment upon jury verdict in die amount of 5215,730.75 plus interest.

?. The above-described vehicle was owned by Rebeoce Reed (“Ms. Reed”) end
covered under nn automobile policy issued by Defendnnt Geico. Mr. Ssnchez’s personal policy
was issued by AC_CC Insu:~enee Compnny. The automobile iiobility insurers ACCC hisosnnce

Compnny and GEICO, lied policy limits totnling only $6{},00{).00. liotta policies none been puid

 

I’I..AENIFF’S QRIGlNA£.. PE'£`§TION AND REQUKST FGR DISCLOSURES PAGE l 0§" 9

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toward the judgment. A portion of tire judgment, Wliioh Sanehez is legally obligated to pay, Witiil

accruing interest remains unpaid

UNDERINSURED MDTORIST CLAIM
di Plaintit'€ as a nassenner in the vehicle owned by Ms. Reed_ was a covered as an
“‘insured” as defamed in lvls. Reed’s policy issued by Defendant Geioo. Plalntit`f’s damages

resulting from the negligence of Sanehez, as determined by the jnry, greatly exoeed all liability

 

Texas insurance C`ode § 3952.103. Therefore, Plaintiff is entitled to payment from the

underinsured portion of Ms. Reed’s policy issued by Defendsnt G<eieo. Sss ”I`EX. lies Cot)s §
1952.106. Furtlrer, Plaintlff’s damages and Sanobez”s liability for payment of the same have
been established by ajury’s verdict following trial te which GEICO consented

9. Piaintiff subsequently submitted a claim to Det"endant Geioo for underinsured
motorist benefits under the terms of Ms. Reed’s poliey. Defendant Geico wholly failed to
conduct any investigation of Piaintiff°s olaini, resulting in the claim being arbitrarily and
capriciously wrongfully denied 'l"o date, lilefendant Geioo continues to deny and/or delay in tire
payment for damages of P}aintift"s underinsured motorist claim Defendent Geico failed to
perform its contractual duties to adequateiy compensate Plaintiff under the terms of Ms. Reed’s
poliey. Speelfically, Defendant Geioo refused to any proceeds of the polioy, although due
demand Was made for proceeds to be paid in an amount sufHoient to cover Plaintiff’s daruages,
and all conditions precedent to recovery upon the policy lied been carried out and aecornp§lslied

by element l

 

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ill Defendant Geieo failed to make an attempt to settle Plaintiff’e claim in a fair
mazmer, although it was aware of its clear liability to Plaimiff under the policy Defeudaut
Geieu*s conduct constitutes a violation oftlie Texas bitumth Cude, Uu:l`ait Settlement Praeticas.
TEX. INS. Coue §541.060(a)(2)(A).

ii. Defendant Geieo failed to explain te Plaintifi` any valid or legal reasons for its
denial of Plaintiff"§ claim end/lot offer of an inadequate settlement Speeit`ically, Defendant
Geict) failed te of§er Plaititiff adequate compensation, without any explanation Wiiy full pamth
was net being made l?"iu~tlieimuteg Det`endaut Geico did not communicate that any future
settlements er payments would be forthcoming to pay for the entire losses covered under the
policy, nor did it provide any explanation for the failure te adequately settle Plaintiit’s claim.
Defendant Geieo’s conduct is a violation of the Texas insurance Code, Unfalr Settlement
Ptaetiees. TEX. INS. CC)D.E §§41.060(&)(3).

12. Det"endant Geim failed to affirm or deny coverage of Plaiutifl"$ claim Within a
reasonable time Specifically, Plait).tiff did net ieeeive timely indication of acceptance or
rejectien, regarding the full and entire claimg in writing from }Jefendant Geieo. Defendant
Geicu’s conduct constitutes a violation of€he Texas insurance Cede, Unfair Settlement Prectices.
“l`t;)i. lite Cc:)ee §541.060(a)(4),

13. Defendant Geiea failed m meet ita obligations under the lean insurance Ct)cle
regarding payment of claim without delay Speeitlcally, it has delayed full payment of Plaintii`t"a
claim longer than allowed and7 to date Pleintit`f has net received full paymetit of her claim.
Defendant Gelco‘:~; conduct constitutes a violation of the Texas Inszzrance Cede, Prern_pt Payment

of Claims. TEX. lNS. CODE §542.05 8,

 

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14. Det`endonts Gcico knowingly or recklessly made false representations, as
described above as to material facts and/or knowineg concealed all or part of material
information from Plaintiff. .

l5. As n result cf Dcfcnclant Geico’a wrongful acts and/or omissions, Piaintiff Was
forced to retain the professional services of the attorneys who are representing her with respect to
these causes of action

CAUSES OF AC’I`IDN AGAINST DEF§LNDAN’I` GEIC(}
ld. Plaintii`t` la not making any claims for relief under federal law
l?`. Defendaut Geico is liable to Piaintiff for intentional violations of the 'i`cxes

lusorancc Code, and intentional breach ofthe common law duty of good faith and fair dealing4

NGNCGMPLIANCE WITH THE 'I"EXAS INSURANCE CODE:
UNFAIR SETTLEMENT PRACTICES

iB. Dci'endant G`oico’s conduct constitutes multiple violations ofthe lean lnsurance
Code, llnfair Settlcmont Practioes. lex lNS. CoDE §541.060(a). All violations under this article
arc made actionable by ’l`u§t. lNo. Couu §§41*15}.

ill Dcfcndont Geico’s unfair settlement practical as described above of failing to
attempt in good faith to effectuate a prompt fair, end equitable settlement of Plaintiii”s clairo,
even though Defendant {}eico’s liability under Ms. Rccd’s policy was reasoneny clean
constitutes an unfair method of competition and ao unfair and deceptive act or practice in the
business of insurance TBX. lNS. Cot>i'£ §541.06€3(a)(2)(A).

20. Defendant Gcico*a unfair settlement practice as described above, of failing within
a reasonable timeto affirm or deny coverage of the claim to Plaintiff, or to submit a reservation
of rights to Plaintiff, constitutes an unfair method of competition and on unfair and deceptive act

or practice in the business of insurance “i`t»;X. lNS. CODE §54l.060(a)(4).

 

PLA!EN[FF°S ORIGINAL PETI’I`ION AND REQURST I"()R DI$CLQ$HRIJZS PM§E 5 GF 9

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NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
THE PR()MPT PAYMENT OF CLAIMS

Zl. Dei`endant Geico"‘s conduct constitutes multiple violations of the iean lnsorance
Code, Proinpt Payment of Claims. All violations made under this article arc made actionable by
TEX. INS. CC)DE 5542.050.

212. De:t`enciant Gcioo*s delay of the payment of Plaintit`i’s claim following its receipt

of all items2 statements and forms reasonably requested and required longer than the amoont of

1 » victim 'T`U`V 12th
- »---~»»~. i-.M \.. ¢.u¢_».

 

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21 Dcfendant Geico’s failure to notify Piaintit`i` in writing of its acceptance or
rejection of Plaiotifi"s claim within the applicable time constrairlts5 constitutes a non~pronipt
payment ofthc ciairn. TEX. INS. Cooe §54;2.056.

2»4.l Dei`endant Geico’s delay of the payment of Plaintift’s claim following its receipt
of all itcrns, statements and forms reasonably requested and required longer than the amount of
time provided for, as described above, constitutes a non~prornpt payment ofthe claim TEX. lNS.
CUEI)E §542.058.

BREACH {)F THE I)UTY OF GOOI) FAI{TH ANI) FA}`_R DEALING

 

25- Det`endsnt Geioo*s conduct constitutes a breach of the duty of good faith and fair
dealing under Te‘:»tas law. Plaintift`, as a covered individual under l\/ls. Reed’s policy issued by
De£endant Cieico, had a special relationship with Det“endant Geico.

26. Dcfonciant Goioo’s failure, as described abovc, to adequately and reasonably
investigate and evaluate Plaintifi’s ciain~i, although Dei’endant Geico*s liability was reasonably

clean constitutes a breach of the duty of good faith and fair dealing `

 

PLA)lNII-`F’S ORIGINAL PE'}L`Z'I`ION ,~i.l\ll) R.EQUEST F{)R D!$CLGSURES FAGE 6 €)l”-` 9

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W.E.

27. iith ot"the acts deserii)ecl a`i:\c:n/eg together and singularly Was done “‘l<nowinglyf’
as that term is used ira the Teaas lawrence Co¢:ie, ana was a producing cause of Plaintifi‘s
damages described herein

' DAMA(:ESAGAINST'DEFEN§ANT eaton

28. Plaintif'i` Wonld show that all of tire aforementioned aets, taken together or
singularly, constitute the producing ceases of the damages sustained by ¥*Iaintiff.

2§. As diseaseeci, Piaintiff continues to suffer injuries as a remit of Defendant
Geieo’s mishandling of her elairn.

30. For noncomplianee with the Texas insurance Code, Unt`air Settlernent Practioes,
l`-'laintiff is entitled to aetuai damages, lWhieh include the loss of the benefits that should have
been paid pursuant to the poliey, mental rnxguisl~la court eests, anri attorneys fees. For knowing
conduct of the acts described above Plaintifl` asks for three times her actuai damages. TEX. IN‘_§.
CO;E)E §541.352.

31. For noncompliance With"l`exas Insnrance Code, Prompt Payrnent of Ciaims,
P]aintit`f is entitled to the amount of her claim, as Weil as eighteen (IS) percent interest per
annum on the amount of such claim as damages, together With attorneys fees. 'Z`EX, iNS. CC)D:€
§542.060.

313'.. Por breach of the common law duty of good faith and fair dealing Plaintitt` is
entitled to compensatory damages, including aii forms of loss resulting from the insurer’s breach
ofdnty, such as additional costa economic hardship, losses due to nonpayment oi`the amount the

insurer oweci, exemplary darnages, and damages for emotional distress.

 

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33. For the prosecution and coilection of this elaim, 'P‘Iaintiti` has been compeiied to
engage the services of the attorneys Whoee names are subscribed to this pieading. Theret°ore,
Plaintitt is entitled tc recover a sum for the reaconabie and necessary services cf P]aintit`t‘s
attorneys in the preparation and trial cf thin action, including any appeais to the Court cf Appeais
and!or the Supreme Court of Texas.

REQUESTS FOR DISCLOSURE

34. Porsuant to ’Fezras Rnie of Civii Procecinre 194.2, Piaintiff requests that Det`endant
Gcico disclose Wititin titty (5{}) days of service of tina rc¢;;ntesty the information cr material
described in Rule i94.2.

BBA;.Y..E..R.

WHER_EPOR_E, PRBWSES CGNSIDERED, Plaintit`f` prays that upon trial hereoi;`,
Plaintift" has and recovers such aetna as Woulci reasonably and justly compensate her in
accordance With the mine cf law and procedure as to actual damages, treble damach under the

1 ’l`exae lawrence Cocle, and all punitive and exemplary damages as may be fcund. fn ante.titicn9
Plaintift' requests the award of attorney’s fees for the trial and any appeai of this case§. for all
costs of Con.rt on their behalf expended, for prejudgment and postjudgment interest as allowed
by iaw, and for any other and further relietf., either at law or in eauity, to Whicb she may show

herself justly antitied.

 

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Respectfully submitted,

BAILEY & GALYEN

4131 N'. Central Expy., Suite 869
Dellas. 'l`exae 75204

(214) 252-9899 - Of`f`!ce

(214) 520-9941 ~»~»I~`ecsimlle
srobelen@galyen.com ~ Email

/S/ Seett (3. Rcleelen
Scort G. Ro`bclcn
Te:r.as State Bar No.: l6990045
lonathen P. Hernon
Texas State Ba.r No.: 240 853 74

A'I`TORNEYS F{)R PLAZN'I`:EFF

CERTIFICATE 0}*` SERWCE

 

l certify that a true and correct copy of Plaintifl‘s Qrigical Petil:ion And Requests for

Disclosure Were served upon Defen<iant Geico Gencral Insurance Company in accordance With

the Texec R.ules cf Clvi! P'reeedare.

/s/ Scott G. Robelen
Sectt G. R.oleelen

 

P!,AINIFF’S ORZGINAL PETITION AN]) REQU£S"I` FOR DIS€I..OSURES

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